                           Case 3:13-cr-00123-ARC Document 1257 Filed 10/17/17 Page 1 of 5
AO 245B (Rev. 09/17)   Judgment in a Criminal Case
                        Sheet I



                                          UNITED STATES DISTRICT COURT
                                       Middle District of Pennsylvania
                                                       )
              UNITED STATES OF AMERICA                 )    JUDGMENT IN A CRIMINAL CASE
                          v.                           )
                                                       )
                    JESSIE CON-UI                            Case Number: 3:CR-13-123
                                                       )
                                                       )    USM Number: 04287-748
                                                       )
                                                       )      James A. Swetz, Mark F. Fleming, David A. Ruhnke
                                                       )     Defendant's Attorney
THE DEFENDANT:
D pleaded guilty to count(s)
D pleaded nolo contendere to count(s)
   which was accepted by the court.
bl!" was found guilty on count(s)         1, 2 and 3
                                        ~---------------------------------~

   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

                                  Nature of Offense
                                    First Degree Murder                                                      2/25/2013                    1
 18:1114(1)                         First Degree Murder of a United States Corrections Officer               2/25/2013                    2

 18:1791(a)(2)                      Possessing Contraband (Shank) in Prison                                  2/25/2013                    3

       The defendant is sentenced as provided in pages 2 through         __5_ _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)                                              Dis       D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenClant must notify the court and United States attorney of material clianges in econoDUc circumstances.

                                                                          10/12/2017
                                                                         Date of Imposi tion of Judgment




                                                                         Si~~
                                                                          A. Richard Caputo, United States District Judge
                                                                         Name and Title of Judge




                                                                         Date
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AO 245B (Rev. 09/ 17) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                       Judgment -   Page _ _2__ of   5
 DEFENDANT: JESSIE CON-UI
 CASE NUMBER: 3:CR-13-123

                                                             IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:

  Life without the possibility of release. This term of imprisonment consists of life imprisonment on Counts 1 and 2, and is
  imposed pursuant to the authority of 18 U.S.C . Section 3593(e) given that the jury was unable to reach a unanimous vote on
  a death sentence, and therefore the term of life imprisonment without the possibility of release is mandated . These terms of
  life imprisonment are to run concurrently with each other, and consecutive to the term of imprisonment (continued .. ..)

     D The court makes the following recommendations to the Bureau of Prisons:




     !ill   The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
            D   at                                D a.m.        D p.m.       on

            D as notified by the United States Marshal.

     0      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            D before 2 p.m. on
            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
I have executed this judgment as follows:




            Defendant delivered on                                                       to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 2A - Imprisonment
                                                                                             Judgment- Page   _ 3_   of     5
DEFENDANT: JESSIE CON-UI
CASE NUMBER: 3:CR-13-123

                                           ADDITIONAL IMPRISONMENT TERMS
 Continued from page 2:

 imposed in Case Number 2:03-CR-667-4 in the United States District Court for the District of Arizona.

 Moreover, pursuant to the Sentencing Reform Act of 1984, it is my judgment that the Defendant, Jessie Con-ui, is hereby
 sentenced to a term of 5 years imprisonment on Count 3 which is to run consecutive to the term of imprisonment imposed
 in Case Number 2:03-CR-667-4 in the United States District Court for the District of Arizona .
 In determining this sentence, I have considered the Sentencing Guidelines as well as the purpose of Title 18 U.S.C. §
 3553(a) namely (1) the nature and circumstances of the offense and the history and characteristics of the defendant;
 (2) the need for the sentence I impose
 (A) to reflect the seriousness of the offense, to promote respect for the law and to provide just punishment of the offense;
 (B) to afford adequate deterrence to criminal conduct;
 (C) to protect the public from further crimes of the defendant; and,
 (D) to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in
 the most effective manner;
 (3) the need to avoid unwarranted sentence disparities among defendants with similar records who have been found guilty
 of similar conduct; and
 (4) the need to provide restitution to any victims of the offense. Moreover, I find the sentence imposed is reasonable.

 I must advise you of your right to appeal your conviction and sentence to the United States Court of Appeals.
 If you are unable to pay the cost of an appeal, then you may apply for leave of Court to appeal in forma pauperis, and if
 approved , counsel will be appointed for you and you will not be required to pay any costs . If you so request, the Clerk of
 Court will prepare and file a notice of appeal on your behalf.
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AO 245B (Rev. 09/ 17)   Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                                  Judgment -   Page      4     of        5
 DEFENDANT: JESSIE CON-UI
 CASE NUMBER: 3:CR-13-123
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                     JVTA Assessment*                                                     Restitution
 TOTALS             $ 300.00                     $                                    $                               $


 0    The determination of restitution is deferred until
                                                         ----
                                                              . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 0    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned .Payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664t1), all nonfederal victims must be paid
      before the United States is paid.

Name of Pa ee                                                                                       Restitution Ordered                 Priority or Percentage




TOTALS                                $                              0.00


0      Restitution amount ordered pursuant to plea agreement $

 0     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 O     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       0    the interest requirement is waived for the           0       fine   O restitution.
       0 the interest requirement for the            0    fine       0      restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 2458 (Rev. 09/ 17) Judgment in a Criminal Case
                      Sheet 6 - Schedule of Payments

                                                                                                            Judgment - Page   --=-
                                                                                                                                 5-     of        5
DEFENDANT: JESSIE CON-UI
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                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows :

A     ~    Lump sum payment of$          300.00                due immediately, balance due

           D     not later than                                    , or
           D     in accordance with D        C,    D    D,    D     E, or     D F below; or

B     D    Payment to begin immediately (may be combined with               DC,         DD, or       D F below); or

C     D    Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                          (e.g., months or years), to commence                     (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                          (e.g., months or years), to commence                     (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     ~    Special instructions regarding the payment of criminal monetary penalties:

            IT IS ORDERED that the Defendant shall pay to the Clerk, U.S. District Court, a special assessment of $100.00 on
            each of Counts 1, 2 and 3 for a total of $300.00, due immediately.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States :



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
